Case: 4:15-cr-00404-HEA Doc. #: 2240 Filed: 05/06/19 Page: 1 of 5 PageID #: 10589




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


UNITED STATES OF AMERICA,          )
                                   )
                       Plaintiff , )
                                   )
vs.                                )             Case No. 4:15CR404 HEA
                                   )
MICHAEL GRADY, et. al.,            )
                                   )
                      Defendant.)

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Order of Detention Pending Trial finding

and ordering that defendant be detained without bail or bond pending trial.

Defendant Grady has filed His Motion For Reconsideration Of Detention Order.

      This is not the first time that Defendant has requested reconsideration of the

Detention Order issued in this matter. This is also his motion subsequent to the

filing of the Fifth Superceding Indictment which added a charge of witness

tampering. It is academic that pretrial detention of a defendant is justified "[o]nly

if the government shows by clear and convincing evidence that no release

condition or set of conditions will reasonably assure the safety of the community

and by a preponderance of the evidence that no condition or set of conditions ...

will reasonably assure the defendant's appearance ...." United States v. Kisling, 334
Case: 4:15-cr-00404-HEA Doc. #: 2240 Filed: 05/06/19 Page: 2 of 5 PageID #: 10590




F.3d 734, 735 (8th Cir. 2003) (quoting United States v. Orta, 760 F.2d 887, 891

(8th Cir.1985) (en banc); 18 U.S.C. § 3142(c), (e)-(f)).

   The court has reviewed the basis for the Order of Detention several times. Each

time Defendant has asserted the same essential concerns and arguments as here.

Now the severity of the offenses is increased again with the addition of the witness

tampering offense. This offense establishes another basis for concluding there

exists “a serious risk that such person will obstruct or attempt to obstruct justice, or

threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a

prospective witness ....” pursuant to Title 18 U.S.C. § 3142(f)(2)(B).

     Title 18, United States Code, Section 3142 establishes certain conditions of

release pending trial and the basis for detention. Subsection (b) provides that a

defendant shall be released on bond unless such release will not reasonably assure

the appearance of the defendant or will endanger the safety of any person or the

community.

   Pursuant to Title 18, United States Code, Section 3142(g), the court must

consider the following factors on the issue of whether the defendant is a flight risk

or danger to the community:

   (1) The nature and circumstances of the offense charged, including whether
        the offense is a crime of violence or involves a narcotic drug;

   (2) The weight of the evidence against the person;

   (3) The history and characteristics of the person, including-
Case: 4:15-cr-00404-HEA Doc. #: 2240 Filed: 05/06/19 Page: 3 of 5 PageID #: 10591




       (A) the person’s character, physical and mental condition, family ties,
           employment, financial resources, length of residence in the community
           community ties, past conduct, history relating to drug or alcohol
           abuse, criminal history, and record concerning appearance at court
           appearances;

             and

       (B) whether, at the time of the current offense or arrest, the person was on
           probation, on parole, or on other release pending trial, sentencing,
           appeal, or completion of sentence for an offense under federal, state or
           local law; and

   (4) The nature and seriousness of the danger to any person or the community

that would be posed by the person’s release.

                                ANALYSIS

     The history and characteristics of the charges and evidence is that defendant

provided counsel to a highly tiered drug trafficker in Counts 32 and 33. The highly

tiered drug trafficker is alleged to have used a firearm resulting in death.

      In order to re-open a detention hearing or reconsider an order of detention a

defendant must, first, “present information that was not known or available to him

at the time of his original detention hearing, and second, show that such

information is material to and has a substantial bearing on whether he should

remain detained.” United States v. Petters, 2009 U.S. Dist. LEXIS, 6489 (S.D.

Minn.) (quoting United States v. Archambault, 240 F. Supp. 2d 1082, 1084 (D.S.D.
Case: 4:15-cr-00404-HEA Doc. #: 2240 Filed: 05/06/19 Page: 4 of 5 PageID #: 10592




2002). See also United States v. Rush, 2017 WL 6541436 (E.D. MO., December 1,

2017.

   No material circumstances have changed in Defendant’s favor. He has not

provided any information that is material to or has a substantial bearing on whether

he should remain detained. He has not met his burden.

   The Court concludes by clear and convincing evidence that the release of the

defendant on bond would pose a danger to the community and finds by a

preponderance of the evidence that there is considerable flight risk in releasing the

defendant on bond.

     The relevant information relative the charges and their circumstances

looming over the head of the defendant suggests, upon conviction, he would be

subject to a considerable period of incarceration.

    The Court finds the release of the defendant on bond would involve a risk of

non-appearance.

   The Court further finds the release of the defendant on bond would constitute a

danger to the community.

   It is the further finding of the Court that there are no conditions or combination

of conditions that will reasonably assure the safety of the community and the

appearance of the defendant as required if he were released on bond.

        Accordingly,
Case: 4:15-cr-00404-HEA Doc. #: 2240 Filed: 05/06/19 Page: 5 of 5 PageID #: 10593




      IT IS HEREBY ORDERED that the Motion For Reconsideration Of

Detention Order is Denied.

      Dated this 6th day of May, 2019.




                                     ___________________________________
                                        HENRY EDWARD AUTREY
                                     UNITED STATES DISTRICT JUDGE
